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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

ENTERTAINMENT ONE UK LTD.,
                                                    Case No. 20-cv-01731
               Plaintiff,
                                                    Judge Charles R. Norgle
v.
                                                    Magistrate Judge Jeffrey Cummings
CANDYSUN FUNNY STORE, et al.,

               Defendants.


                      NOTICE OF DISMISSAL UNDER RULE 41(a)(1)

        Pursuant to Rule 41(a)(1) of the Federal Rules of Civil Procedure, Plaintiff Entertainment

One UK Ltd. (“eOne” or “Plaintiff”) hereby dismisses this action, with leave to reinstate within

one hundred and eighty (180) days, as to the following Defendants:

                 Defendant Name                                       Line No.
              childhood dreamwork                                        10
                shop4650061 store                                        16
               time machine co.,ltd                                      19
                     Aismrii                                             25
                  Banaroo Tech                                           26
                     Cesilly                                             28
                      HMLi                                               37
                     Qihuang                                             47
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Dated this 6th day of July 2020.     Respectfully submitted,

                                     /s/ Jake M. Christensen
                                     Amy C. Ziegler
                                     Justin R. Gaudio
                                     Jake M. Christensen
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